Case:
  Case22-30033    Document: 00516200881
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                                                            Page  1 of 2




           United States Court of Appeals
                for the Fifth Circuit
                                ___________
                                                                   A True Copy
                                 No. 22-30033                      Certified order issued Feb 14, 2022

                                ___________
                                                                   Clerk, U.S. Court of Appeals, Fifth Circuit

   Dynamic Industries, Incorporated; Dynamic Industries
   International, L.L.C.; Dynamic Industries Saudi Arabia,
   Limited,

                                                        Plaintiffs—Appellants,

                                      versus

   Walaa Cooperative Insurance Company, improperly named
   defendant Metlife - American International Group - Arab National Bank
   Cooperative Insurance Company; Marsh & McLennan Companies,
   Incorporated, doing business as Marsh, Incorporated; Marsh
   USA, Incorporated, doing business as Marsh USA Risk
   Services,

                                            Defendants—Appellees.
                    ____________________________

                  Appeal from the United States District Court
                     for the Eastern District of Louisiana
                            USDC No. 2:21-CV-748
                   ____________________________

   CLERK’S OFFICE:
          Under 5th Cir. R. 42.3, the appeal is dismissed as of February 14,
   2022, for want of prosecution. The appellant failed to timely order the
   transcript and make financial arrangements with the court reporter.
Case:
  Case22-30033    Document: 00516200881
       2:21-cv-00748-ILRL-JVM             Page:
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                                             Filed Date Filed: 02/14/2022
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                               No. 22-30033




                                         LYLE W. CAYCE
                                         Clerk of the United States Court
                                         of Appeals for the Fifth Circuit




                                By: _________________________
                                       Allison G. Lopez, Deputy Clerk

                    ENTERED AT THE DIRECTION OF THE COURT




                                    2
